                              NO. 07-12-00389-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL A
                                       
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JANUARY 7, 2013
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   IN THE MATTER OF THE MARRIAGE OF MANUEL A. VIDALES AND NELDA NORA VIDALES
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                FROM THE 286TH DISTRICT COURT OF HOCKLEY COUNTY;
                                       
                 NO. 11-10-22811; HONORABLE PAT PHELAN, JUDGE
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Before CAMPBELL and HANCOCK and PIRTLE, JJ.


                              MEMORANDUM OPINION
                                       
Appellant, Manuel A. Vidales, filed a notice of appeal of the trial court's judgment or order signed on June 21, 2012.  We dismiss for want of prosecution and failure to comply with a directive of this Court.
After Vidales filed his notice of appeal, the Clerk of the 286th District Court of Hockley County filed a request for an extension of time to file the clerk's record on the basis that Vidales had not paid or made arrangements to pay for preparation of the clerk's record.  This motion was granted and, by letter dated October 23, this Court notified Vidales that the clerk's record for this appeal had not been paid for nor had arrangements been made to pay for preparation of the clerk's record.  This letter further directed Vidales to make arrangements for preparation of the clerk's record, and to submit a status report regarding the appeal on or before November 19.  The letter also notified Vidales that failure to comply with the directive of the Court could result in dismissal of the appeal for want of prosecution.  See Tex. R. App. P. 37.3(b).  On November 20, this Court again notified Vidales that the clerk's record had neither been paid for nor had payment arrangements been made for preparation of the clerk's record.  By this letter, Vidales was directed to ensure that the clerk's record was filed or to certify that payment had been made or that arrangements for payment had been made for preparation of the clerk's record by December 19, or the appeal might be dismissed for want of prosecution.  To date, Vidales has not responded to either directive.  Further, by motion filed December 19, the trial court clerk again requested an extension of time to file the clerk's record on the basis that Vidales has still failed to pay for or make arrangements to pay for preparation of the clerk's record. 
Because no clerks record has been filed in this appeal due to the fault of Vidales and Vidales has been afforded a reasonable opportunity to comply with the requisites, we now dismiss this appeal for want of prosecution and for failure to comply with a directive of this Court.  See Tex. R. App. P. 37.3(c), 42.3(b), (c).

							Mackey K. Hancock
						                   Justice

	

